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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA,

zs Criminal No. 1:23cr97 (DIN)
MOHAMMED AZHARUDDIN CHHIPA,
Defendant.
VERDICT FORM
COUNT ONE

(Conspiracy to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

We the jury, unanimously find the defendant, MOHAMMED AZHARUDDIN CHHIPA

Cv [ty as to the offense charged in Count One of the indictment.
(Guilty or Not Guilty)

COUNT TWO
(Providing and Attempting to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

We the jury, unanimously find the defendant, MOHAMMED AZHARUDDIN CHHIPA

Gut Ly as to the offense charged in Count Two of the Indictment.
(Guilty or Not Guilty)

COUNT THREE
(Providing and Attempting to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

We the jury, unanimously find the defendant, MOHAMMED AZHARUDDIN CHHIPA

ui ly as to the offense charged in Count Three of the Indictment.
(Guilty or Not Guilty)

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COUNT FOUR
(Providing and Attempting to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

We the jury, unanimously find the defendant, MOHAMMED AZHARUDDIN CHHIPA

(GF ilby as to the offense charged in Count Four of the Indictment.
(Guilty or Not Guilty)

COUNT FIVE
(Providing and Attempting to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

We the jury, unanimously find the defendant, MOHAMMED AZHARUDDIN CHHIPA

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(Foi | Y as to the offense charged in Count Five of the Indictment.
(Guilty or Not! Guilty)

So Say We All, this 13 day of December, 2024

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FORBPERSON 35, tee

